    Case 3:13-cv-00331-GPC-KSC Document 324 Filed 05/31/18 PageID.15935 Page 1 of 2
                          MINUTES OF THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

                                             VS
               Fontalvo                                  Sikorasky Aircraft Corporation et al
Case Number:   13cv331-GPC                WITNESS LIST                    Jury Trial

     DATE                 PLF       DEF                      WITNESS NAME
    5-15-18               X                 MICAH HAMILTON (VIDEO DEPOSITION)
    5-15-18               X                 CHRISTOPHER DANLEY (VIDEO DEPOSITION)
    5-15-18               X                 EVAN SHELTON
    5-15-18               X                 JUSTIN BROWN (DEPOSITION – READ)
    5-15-18               X                 CHARLES COFFIN (DEPOSITION – READ)
    5-15-18               X                 JOSHUA PERKINS (DEPOSITION – READ)
    5-16-18               X                 LEE COFFMAN (VIA VIDEO CONFERENCE)
    5-17-18               X                 JOSHUA PERKINS (DEPOSITION – READ)

    5-17-18               X                 IAN DANIEL STEVENS

    5-17-18               X                 TANIKA FONTALVO
    5-17-18               X                 LEE COFFMAN (VIA VIDEO CONFERENCE)
    5-21-18               X                 NORMA FONTALVO
    5-21-18               X                 ROBERT WUTHRICH (VIDEO DEPOSITION)
    5-21-18               X                 JOHN BLOOMFILED
    5-21-28               X                 TASHINA AMADOR
    5-22-18               X                 MANNING STELZER (VIDEO DEPOSITION)
    5-22-18               X                 DAVID FRACTOR
    5-22-18               X                 MEGAN STONE (VIDEO DEPOSITION)
    5-22-18                          X      LESLIE LEIGH (VIDEO DEPOSITION)
    5-22-18                          X      OLIVIU MUJA (VIDEO DEPOSTION)
    5-23-18                          X      JOHN WAKEFIELD
    5-23-18                          X      MEGAN STONE (VIDEO DEPOSITION)
    5-23-18                          X      ALDO BASSIGNANI (VIDEO DEPOSITION)
    5-24-18                          X      JAMES KNOX
    Case 3:13-cv-00331-GPC-KSC Document 324 Filed 05/31/18 PageID.15936 Page 2 of 2
                          MINUTES OF THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

                                            VS
               Fontalvo                                 Sikorasky Aircraft Corporation et al
Case Number:   13cv331-GPC               WITNESS LIST                    Jury Trial

    5-24-18                          X     CHRIS LOWENSTEIN
    5-29-18                          X     MARTIN MONTES de OCA (VIDEO DEPOSITION)
    5-29-18                          X     LEE BASSETT (VIDEO DEPOSITION)
    5-29-18                          X     WILLIAM MELLEN (VIDEO DEPOSITIION)
    5-29-18                          X     OLIVIU MUJA (VIDEO DEPOSITION)
    5-29-18                          X     ROBERT OSTROWSKI
    5-29-18                          X     KEITH SPARKS (VIDEO DEPOSITIION)
    5-30-18                          X     JOHN FLETCHER (VIDEO DEPOSITION)
    5-30-18                          X     JEREMIAH WILCOX (VIDEO DEPOSTION)
